Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 1 of 7 PageID #: 40688




                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION


   SynQor, Inc.

                           Plaintiff,                     Civil Action No. 2:14-CV-287-RWS-CMC

        v.                                                JURY TRIAL DEMANDED

   Vicor Corporation

                           Defendant.



            JOINT SUBMISSION IN ADVANCE OF JANUARY 12 STATUS
      CONFERENCE TO ADDRESS RESTARTING THE CASE AFTER STAY LIFTED

          Plaintiff SynQor, Inc. (“SynQor”) and Defendant Vicor Corp. (“Vicor”) hereby submit a

   list of the issues they believe need to be addressed at the January 12, 2022 status conference. In

   the Court’s Order that lifted the stay in this case, the Court indicated that it would address the

   following at the upcoming conference:

                  the Court will address SynQor’s proposal to dismiss the ʼ290
                  patent, the Court’s inclination to deny any pending motions
                  without prejudice to refiling under an expedited schedule, and
                  District Judge Schroeder’s availability for a realistic, but prompt,
                  trial setting.

   Dkt. 311 at 12 (footnote omitted). The Court also instructed the parties to provide, “in advance

   of the status conference, a list of any additional issues to be addressed.” Id. And, in its Order

   resetting the status conference to January 12, the Court ordered the parties to submit their issues

   by January 5. Dkt. 312 at 1. The parties have differing perspectives regarding the issues to

   address, as set forth below.
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 2 of 7 PageID #: 40689




          SynQor’s Additional Issues

          SynQor notes that the Court’s Order lifting the stay specifically found as follows

   regarding the case:

                  “SynQor’s decade-old claims of infringement of the ʼ190 and ʼ702
                  patents are ready for trial, and should move forward.” The Court
                  agrees with the positions stated by SynQor in its briefing, and for
                  the reasons stated therein, is of the opinion the stay should be lifted
                  at this time.

   Dkt. 311 at 11 (citation omitted). Particularly in view of the Court’s findings when lifting the

   stay, SynQor believes that the additional issues to address, some of which overlap in part with

   the Court’s issues, are:

          1.      SynQor’s Motion to Compel Vicor to Provide Supplemental Discovery to

   Facilitate the Setting of a New Case Schedule After the Lifting of the Stay (Dkt. 313).

          2.      Setting a schedule for supplemental fact and expert discovery (in addition to what

   is requested in SynQor’s motion per point 1 above) to address Vicor’s continued sales of the

   accused products from the last time sales data was produced (August 2014) to the expiration of

   the asserted patents (January 2018), to occur before renewed summary judgment and Daubert

   motion deadlines and other pretrial submission deadlines.

          3.      Determining the scope of that supplemental discovery.

          4.      Setting deadlines for renewed summary judgment and Daubert motions, and

   determining whether any of the pending motions should be decided on the papers rather than

   denied without prejudice to refiling.

          5.      Determining available trial dates for a jury trial in Marshall, and setting pretrial

   dates (motions in limine, exhibit lists, witness lists, deposition designations, pretrial conference,




                                                    2
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 3 of 7 PageID #: 40690




   etc.) based on the available trial dates and the expected length of time needed for supplemental

   fact and expert discovery per points 1, 2 and 3 above.

          6.       Determining whether patents other than the ’190 and ’702 patents (i.e., the ’290

   and ’021 patents), and all counterclaims relating to these other SynQor patents, should be

   dismissed from the case, and if so, when?

          Vicor’s Additional Issues

          As this Court previously observed, “there is still substantial work that needs to be done

   by the Court and the parties before this case will be ready for trial.” Dkt. 253. The Court

   therefore implemented the stay to “avoid the expenditure of significant resources that would

   [otherwise] go into trial preparation and trial.” Id. Specifically, the Court noted that the

   “reexaminations will streamline the case” because, “[f]or any remaining issues, the Court will

   have the benefit of the PTO’s review.” Id. The reexaminations have in fact resulted in many

   asserted claims (including ‘190 patent claims and all of the asserted claims of the ’021 patent)

   being rendered unpatentable and have provided additional intrinsic evidence of non-

   infringement.

          For all remaining claims, Vicor believes that the pre-stay record justifies dispositive relief

   of non-infringement. And, those arguments have now only become stronger due to the positions

   taken by SynQor throughout the reexaminations. Accordingly, in the interest of sparing party

   and judicial resources, Vicor believes the Court should set an expedited briefing schedule for a

   renewed summary judgment motion of no direct infringement, with all other motions on

   ancillary issues deferred. Vicor believes its renewed motion will be dispositive of SynQor’s

   remaining patent infringement claims, rendering moot seven of the pending summary judgment

   and Daubert motions and eliminating the need for any further fact discovery. At a minimum,




                                                    3
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 4 of 7 PageID #: 40691




   Vicor’s motion will eliminate the vast majority of accused products from the case, significantly

   streamlining the case, and more narrowly framing any additional discovery and issues that must

   be resolved. Accordingly, Vicor proposes the following issues for discussion at the conference,

   in addition to the ones the Court has identified:

          1.      The process for, and timing of, the filing of Vicor’s renewed summary judgment

   motion of no direct infringement.

          2.      Whether the interests of judicial economy support Vicor’s request for deferral of

   supplemental discovery on the accused products until after the Court has resolved the issue of no

   direct infringement, due to the likelihood that any further discovery will be moot once the Court

   has made that determination.

          3.      Whether the Court should defer resolution of the following pending summary

   judgment and Daubert motions until after the Court has decided the issue of direct infringement

   due to the likelihood that they will be rendered moot: (i) SynQor’s motion for summary

   judgment on Vicor’s counterclaims (Dkt. 14); (ii) SynQor’s motion for partial summary

   judgment relating to infringement under 35 U.S.C. § 271(f)(1) (Dkt. 94); (iii) SynQor’s motion

   for summary judgment on Vicor’s 35 U.S.C. § 112 defenses and counterclaims (Dkt. 96); (iv)

   Vicor’s motion for summary judgment of no indirect infringement and no willful infringement

   (Dkt. 100); (v) Vicor’s motion for summary judgment of no lost profits (Dkt. 105); (vi) SynQor’s

   Daubert motion directed at Vicor’s damages expert, Alan Ratliff (damages expert) (Dkt. 97); and

   (vii) Vicor’s Daubert motion directed at SynQor’s damages expert, Brett Reed (Dkt. 106).

          4.      The dismissal of the ’021 and ’290 patents.




                                                       4
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 5 of 7 PageID #: 40692




                                        Respectfully submitted,

   Dated: January 5, 2022               /s/ Michael D. Hatcher
                                        Thomas D. Rein, Lead Attorney (pro hac vice)
                                        trein@sidley.com
                                        Stephanie P. Koh (pro hac vice)
                                        skoh@sidley.com
                                        SIDLEY AUSTIN LLP
                                        One South Dearborn
                                        Chicago, IL 60603
                                        Telephone:     312.853.7000
                                        Facsimile:     312.853.7036

                                        Michael D. Hatcher
                                        Texas State Bar No. 24027067
                                        mhatcher@sidley.com
                                        SIDLEY AUSTIN LLP
                                        2021 McKinney Avenue, Suite 2000
                                        Dallas, TX 75201
                                        Telephone:    214.981.3300
                                        Facsimile:    214.981.3400

                                        ATTORNEYS FOR PLAINTIFF
                                        SYNQOR, INC.

                                        /s/ Linda J. Brewer
                                        Eric H. Findlay, Texas Bar No. 00789886
                                        efindlay@findlaycraft.com
                                        Brian Craft, Texas Bar No. 04972020
                                        bcraft@findlaycraft.com
                                        FINDLAY CRAFT, LLP
                                        102 North College Avenue, Suite 900
                                        Tyler, TX 75702
                                        Telephone: (903) 534-1100
                                        Facsimile: (903) 534-1137

                                        Charles Kramer Verhoeven (pro hac vice)
                                        charlesverhoeven@quinnemanuel.com
                                        Linda J. Brewer (pro hac vice)
                                        lindabrewer@quinnemanuel.com
                                        Sean S. Pak (pro hac vice)
                                        seanpak@quinnemanuel.com
                                        QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP
                                        50 California Street, 22nd Floor
                                        San Francisco, CA 94111
                                        Telephone: 415-875-6600


                                        5
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 6 of 7 PageID #: 40693




                                        Facsimile: 415-875-6700

                                        Lawrence K. Kolodney (pro hac vice)
                                        kolodney@fr.com
                                        FISH & RICHARDSON P.C.
                                        One Marina Park Drive
                                        Boston, MA 02210-1878
                                        Telephone: 617-542-5070
                                        Facsimile: 617-542-8906

                                        Attorneys for Defendant
                                        Vicor Corporation




                                        6
Case 2:14-cv-00287-RWS-CMC Document 322 Filed 01/05/22 Page 7 of 7 PageID #: 40694




                                    CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are being

   served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on

   this the 5th day of January 2022. Any other counsel of record will be served by first class U.S. mail

   on this same date.

                                                 /s/ Michael D. Hatcher
                                                 Michael D. Hatcher




                                                    7
